                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )
 v.                                             )       No. 1:23-cr-37
                                                )       JUDGE ATCHLEY
 JARED BROOME                                   )


      MOTION TO SUPPRESS PHYSICAL EVIDENCE, STATEMENTS, AND REQUEST
                           FOR FRANKS HEARING

          The accused, Jared Broome, by and through undersigned counsel, and pursuant to Federal

 Rule of Criminal Procedure 12(b)(3)(C), the Fourth Amendment, and the Fifth Amendment to

 the United States Constitution, requests the issuance of an order suppressing statements and the

 evidence seized from a shed at the end of a private driveway located at 3801 Kingwood Circle,

 East Ridge, Tennessee. Mr. Broome also requests a Franks hearing to contest the

 constitutionality of the search warrant issued for a search of the shed.

          I.     RELEVANT FACTS

          Each of the following events take place on January 18, 2023:

 Arrival and Arrest of Mr. Broome:

       1. At “approximately 1240 hours” Cpl. Beadle of the East Ridge Police Department

          (hereinafter referred to as “ERPD”) observed a green Honda CRV registered to Mr. Jared

          Broome parked in the driveway of a home located at 3801 Kingwood Circle, East Ridge,

          TN (hereinafter referred to as “the home”). Defense Ex. 1. Cpl. Beadle was aware that

          Mr. Broome had warrants for his arrest in Hamilton County, TN. Id.

       2. The home includes a backyard surrounded completely by a fence. Immediately north of

          the house, but within the property, is a driveway. Defense Ex. 2, p. 1. At the end of the



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       driveway, next to the fence, and roughly 15 feet from the back porch, is a metal shed

       (hereinafter referred to as “the shed”). Id. at 2. The shed is opaque. Id. at 3. The front

       doors slide open to either side. Immediately behind the front doors, there is a plastic

       partition. This plastic partition is translucent, not transparent. Facing the front of the

       shed, a person cannot see the inside of the shed without opening the front doors and

       pushing aside the plastic partition.

    3. Wearing a body worn camera (hereinafter abbreviated to “BWC”), Cpl. Beadle walks to

       the front door of the home. Defense Exs. 3 & 4. Janice Sneed, Mr. Broome’s

       grandmother, answers the door. Id.

    4. Cpl. Beadle asks Ms. Sneed if Mr. Broome is present. Id. Ms. Sneed tells Cpl. Beadle that

       Mr. Broome is asleep “in the shed in the back.” Id. She also informs Cpl. Beadle that Mr.

       Broome is living in the shed. Id.

    5. Cpl. Beadle and three other officers walk to the shed behind the property and call for Mr.

       Broome to come outside. Id. A few seconds later, Ms. Sneed also calls for Mr. Broome to

       come outside. Id.

    6. While the officers have their weapons drawn, Mr. Broome exits the shed at 12:43:19.

       Defense Ex. 4. Cpl. Beadle instructs Mr. Broome to “put [his] hands up.” Id. Cpl. Beadle

       handcuffs Mr. Broome and informs Mr. Broome that “[he’s] got warrants.” Id.

    7. Cpl. Beadle asks Mr. Broome how long he has been living in the shed. Mr. Broome says

       “a couple of days.” Id.

    8. Cpl. Beadle speaks into his radio: “We got one in custody at the moment.” Id.




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 First Warrantless Entry into the Shed:

    9. After handcuffing Mr. Broome, at 12:43:50, Cpl. Beadle asks Mr. Broome if Mr. Broome

        wants to grab his shoes which are in the shed. Defence Exs. 3 & 4. Mr. Broome responds

        “no,” and that he can wear a pair of shoes laying outside the entrance to the shed.

    10. Cpl. Beadle insists that Mr. Broome needs to wear the shoes that are in the shed, not the

        shoes outside the shed. Id. Cpl. Beadle says, “Can I grab [the shoes that are inside the

        shed],” and Mr. Broome finally mumbles “yeah.” Id.

    11. Seconds later, at 12:44:10, Cpl. Beadle enters the shed, purportedly to retrieve the pair of

        shoes. Id. Although the shoes are right inside the entrance of the shed, Cpl. Beadle shines

        his flashlight and “illuminates his surroundings by flashlight before and after retrieving

        [the] pair of shoes.” Id.

    12. At 12:44:28, Cpl. Beadle says, “here’s his shoes,” and hands the shoes to an officer

        standing outside of the shed. Id.

    13. At 12:44:50, Cpl. Beadle exits the shed. Id.

 Questioning of Mr. Broome:

    14. A few minutes later beginning at 12:47:02, Cpl. Beadle begins to question Mr. Broome in

        the driveway a few yards away from the shed. Id. Mr. Broome is still handcuffed.

        Defense Ex. 4. Cpl. Beadle and three other officers surround Mr. Broome. Id. Cpl. Beadle

        begins to question Mr. Broome about the cars in the driveway. Defense Exs. 3 & 4.

    15. At this point, no officer has provided any warnings against self-incrimination to Mr.

        Broome.

    16. Next, at 12:47:27, the following exchange occurs:



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        Cpl. Beadle: “What’s all in the shed that’s illegal?” You got a little bit of pills and stuff

        in there?”

        Mr. Broome: looks down, pauses, shakes his head from side to side, and denies having

        anything inside the shed.

        Cpl. Beadle: “There ain’t no pills in there right now?”

        Mr. Broome: “There ain’t nothing in there. I ain’t got shit.”

        Cpl. Beadle: “You don’t mind if I look then?”

        Mr. Broome: “I don’t consent to nothing, man.”

        Defense Exs. 3 & 4.

 Second Warrantless Entry into the Shed:

    17. Next, at 12:47:55, Cpl. Beadle instructs another officer to take Mr. Broome away to the

        police car. Defense Ex. 4.

    18. Cpl. Beadle next summons Ms. Sneed, clarifies that Mr. Broome is residing in the shed,

        and requests her consent to enter the shed “to refrain from getting a search warrant.”

        Defense Exs. 3 & 4.

    19. In response to Cpl. Beadle’s questions, Ms. Sneed explains that Mr. Broome keeps his

        “tools and stuff” in the shed. Id. Cpl. Beadle explicitly asks her, “[d]o you have stuff out

        there too, old tools and stuff?” to which Ms. Sneed responds, “[n]o, mostly its all his

        stuff.” Id.

    20. At 12:49:37, Ms. Sneed tells Cpl. Beadle “You’re more than welcome to search it.” Id. At

        this time, Mr. Broome is still on the property of the home near the driveway’s entrance.

        Defense Ex. 4.




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    21. Next, Cpl. Beadle and another officer enter the shed and search the inside. Defense

        Exhibits 3 & 4. They neither state that they observe anything illegal or indicative of

        criminal activity, nor is anything apparent from the BWC.

 Dog Sniff of the Shed:

    22. About 70 minutes after, and without receiving consent from Ms. Sneed, at about 13:00,

        Cpl. Beadle brings a dog out from his police vehicle. Defense Ex. 5. For about four

        minutes, Cpl. Beadle has the dog sniff around the cars, the driveway, and the shed. Id.

        The dog jumps around energetically. Id.

 Third Warrantless Entry into the Shed:

    23. At 13:19:00, one of the officers approaches the shed and closes its doors. Defense Ex. 6.

    24. At 14:06:50, Cpl. Beadle approaches, opens, and enters the shed again. Defense Ex. 7.

        Ms. Sneed is standing a few yards away in the backyard. Id.

    25. At 14:07:58, Ms. Sneed asks the officers if they have gotten a search warrant. Id.

    26. In response, Cpl. Beadle explains that he is grabbing what is in “plain view” and that he

        is about to leave to go get a judge to sign the search warrant. Id. He further explains that

        he will return upon obtaining a judge’s signature to perform “an actual search of the

        place.” Id.

 Solicitation of the Search Warrant:

    27. At some point after the third entry into the shed, but prior to 14:48 hours, the officers

        solicit a search warrant from Judge Charles Paty. Defense Ex. 8. Cpl. Beadle purportedly

        authors the affidavit in support of the warrant. Id. at p. 2.

    28. The affidavit, which recites less than one full page of alleged facts, states that the officers

        arrested Mr. Broome inside the shed. Id. at p. 3.



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    29. The affidavit further asserts that “[w]hile inside the shed police observed in plain view a

        syringe, and multiple aluminum foil wrappers consistent with the use of fentanyl.” Id. In

        addition, the affidavit says that officers observed “an end of [sic] glass pipe with residue

        in a box that was consistent with a pipe commonly used to smoke methamphetamine.” Id.

    30. The affidavit admits that Cpl. Beadle “deployed K9 Quest to conduct a free air sniff of

        the vehicles” and asserts that the dog began “pulling [Cpl. Beadle] towards the metal

        building.” Id.

    31. At 14:48 hours, Judge Charles Paty issues the search warrant. Id. at p. 1. At 15:03, Cpl.

        Beadle and the other officers return to the home a search the shed again. Defense Ex. 9.

        During this search, the officers discover a Mossberg 500 12-gauge shotgun behind the

        door of the shed. Id.

        As a result of the foregoing, the United States has charged Mr. Broome with being a felon

 in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1). Docket Entry 1.

        II.     ARGUMENT

        The United States Constitution protects all persons from “unreasonable searches.” U.S.

 Const. Amend. IV. “[T]he curtilage of the house . . . enjoys protections as part of the home

 itself,” Florida v. Jardines, 569 U.S. 1, 6 (2013), and a warrantless entry of a person’s home is

 per se unreasonable. Payton v. New York, 389 U.S. 347, 351 (1967). There exist only a few

 “jealously and carefully drawn” exceptions to the Fourth Amendment’s warrant requirement.

 Jones v. United States, 357 U.S. 493, 499 (1958). However, these exceptions are “few” and

 “well-delineated.” Katz v. United States, 389 U.S. 347, 357 (1967). The Supreme Court has

 emphasized that “police must, whenever practicable, obtain advance judicial approval of

 searches and seizures through the warrant procedure.” Terry v. Ohio, 392 U.S. 1, 20 (1968). The



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 Sixth Circuit has likewise emphasized that “the warrant requirement is at the very heart of the

 Fourth Amendment” and that “judicial exceptions to it are only exceptions.” United States v.

 Haddix, 239 F.3d 766, 768 (6th Cir. 2001).

           The United States bears the burden of proving that a warrantless search was reasonable

 and did not violate the Fourth Amendment. United States v. Washington, 573 F.3d 279, 286

 (1951).

           A. The First Entry of the Shed Exceeded the Scope of Any Consent that Mr.

               Broome May Have Given to Officer Beadle.

           Officers may conduct a warrantless search if they receive consent to search the item or

 property at issue. Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973). However, “[a] suspect

 may of course delimit as he chooses the scope of the search to which he consents.” Id.

           Here, Mr. Broome never consented to a search of the shed. At most, Mr. Broome may

 have mumbled “Yeah” in response to Cpl. Beadle’s plea to grab his shoes. This response defined

 the scope of Cpl. Beadle’s ability to enter the shed without violating the Fourth Amendment. At

 most, Mr. Broome consented to a brief entry into the shed to grab his shoes, not to search for

 evidence. Within a second or two of entering, Cpl. Beadle finds Mr. Broome’s shoes. However,

 Cpl. Beadle overstood his welcome; his actions became unconstitutional after he remained inside

 the shed, turned on his flashlight, and searched the shed. Cpl. Beadle finds the shoes a second or

 two after 12:44:10. However, after accomplishing the purpose of the warrantless entry to which

 Mr. Broome may have consented, he stays inside and enthusiastically looks around. 1 At

 12:44:27, he hands the shoes to an officer outside of the shed. Despite this, Cpl. Beadle remains


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   To be clear, Mr. Broome does not concede that he consented to any entry to the shed at all. It remains the
 government’s burden to prove the validity of a consent search. See Schneckloth, 412 U.S. at 222. Mr. Broome’s
 argument is in the alternative; even if the Court finds that he consented to a brief warrantless entry to the shed to
 retrieve a pair of shoes, Cpl. Beadle remained longer than necessary to fulfill this objective.

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 inside the shed for an additional 23 seconds and does not leave until 12:44:50. In total, Cpl.

 Beadle spent roughly 40 seconds inside the shed, egregiously longer than necessary to receive

 Mr. Broome’s shoes, which were right inside the door. Perhaps more notably, Cpl. Beadle does

 not mention seeing anything of investigative interest during or immediately after the first

 warrantless entry. However, if Cpl. Beadle did observe something that lead to further

 investigation, his observation would have been the result of a search that exceeded the consented

 purpose of the warrantless entry.

        B. Officers Violate the Fourth Amendment When They Perform a “Consent”

            Search When a Physically Present Co-Occupant Refused Consent.

        Officers may lawfully search a home or its curtilage if they receive consent to search

 from an occupant with apparent authority to consent. Illinois v. Rodriguez, 497 U.S. 177, 181

 (1990). However, “a physically present co-occupant’s stated refusal to permit entry prevails” and

 “renders the warrantless search unreasonable and invalid as to him.” Georgia v. Randolph, 547

 U.S. 103, 106 (2006). In Randolph, the defendant’s wife consented to a search of the home, but

 the defendant, who was also present at the time, “unequivocally refused.” Id. at 107. Despite this,

 law enforcement entered the defendant’s home and uncovered evidence. The Supreme Court

 held that this search was unlawful as applied to the defendant, clarifying that “a physically

 present inhabitant’s express refusal of consent to a police search [of his home] is dispositive as to

 him, regardless of the consent of a “fellow occupant.” Id. at 122-23. The Court further

 emphasized that “[d]isputed permission” is insufficient to support “the central value of the

 Fourth Amendment. Id. The Court went so far as to establish a bright-line rule: the objecting co-

 occupant’s physical presence is dispositive “[s]o long as there is no evidence that the police have




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 removed the potentially objecting tenant from the entrance for the sake of avoiding a possible

 objection.” Id. at 121.

          The Sixth Circuit has likewise enforced the bright-line rule from Randolph. See, e.g.,

 United States v. Johnson, 656 F.3d 375 (6th Cir. 2011) (finding that the warrantless search of a

 bedroom was unreasonable despite wife and mother-in-law’s consent because defendant was

 physically present and expressly refused consent); and Pratt v. United States, 214 Fed.Appx. 532

 (6th Cir. 2007) (holding that search was valid when defendant was not present when mother

 consented to a search of his room and his mother had actual authority to consent). 2

          Here, Cpl. Beadle and the other officers had only disputed permission to enter the shed

 after Mr. Sneed consented. Mr. Broome unequivocally refused consent when he responded “I

 don’t consent to nothing man” to Cpl. Beadle’s request. This situation is analogous to Randolph

 and Johnson, and dissimilar to Pratt. Even assuming that both Mr. Broome and his grandmother

 had a privacy interest in the shed, they were both present at the home at the time officers

 requested consent, and one of them, Mr. Broome, refused consent. Like the defendant in

 Randolph, Mr. Broome’s “stated refusal to permit entry prevails.” Randolph, 547 U.S. at 106.

 Therefore, the officers did not have constitutionally valid consent to conduct the second

 warrantless entry of the shed.

          The Supreme Court slightly adjusted the Randolph rule for the “very different situation”

 where “consent was provided by an abused woman well after her male partner had been removed

 from the apartment they shared.” Fernandez v. California, 571 U.S. 292, 294 (2014). In

 Randolph, a woman appeared to be crying when officers knocked on the door of the defendant’s


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   Mr. Broome does not concede that Ms. Sneed had any actual authority to consent to either a search of the shed
 generally or a search of any containers located inside the shed. However, even assuming that she qualified as a co-
 occupant with actual authority, Mr. Broome’s affirmative and unequivocal refusal controls over Ms. Sneed’s
 statements.

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  apartment. Id. at 295. The woman told officers that she had just been in a fight, and the officers

  “saw blood on her shirt and hand from what appeared to be a fresh injury.” Id. Next, the

  defendant appeared at the door and adamantly refused consent for the officers to enter the

  apartment. Id. at 296. The officers arrested the defendant for assault and removed him to the

  police station for booking. Id. About an hour later, the officers returned to the apartment and

  obtained verbal and written consent from the woman to search. Id. In Fernandez, the Court

  reasoned that the officers had removed the defendant from the scene not to avoid his refusal to

  consent, but rather because they “had reasonable grounds for removing him so they could speak

  with . . . an apparent victim of domestic violence.” Id. at 303. More explicitly. The Court held

  that “an occupant who is absent due to a lawful detention or arrest stands in the same shoes as an

  occupant who is absent for any other reason.” Id.

         Mr. Broome’s case is distinguishable from Fernandez. There were no exigent

  circumstances of domestic violence. While the officers in Fernandez arrested the defendant,

  drove him to police station, and booked him before going back to speak to the woman an hour

  later, Cpl. Beadle dismissed Mr. Broome and immediately summoned Ms. Sneed and requested

  her consent instead. Although not stated explicitly in his audio, Cpl. Beadle appears to have

  removed Mr. Broome because he thought he could avoid the issues with his refused consent by

  simply speaking to his grandmother. In other words, Cpl. Beadle moved Mr. Broome away “for

  the sake of avoiding a possible objection,” breaking the bright-line rule. Randolph, 547 U.S. at

  121. Therefore, because the officers only received disputed consent, and because they broke the

  bright-line rule in Randolph, the second warrantless entry violated the Fourth Amendment.




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         C. The Court Must Suppress Statements Obtained in Violation of Mr. Broome’s

             Fifth Amendment Right Against Self-Incrimination.

             i.      Officer Beadle’s Questions Were an Interrogation Because They Were
                     Designed to Solicit Incriminating Responses from Mr. Broome.

         The Supreme Court defines interrogation as “questioning initiated by law enforcement

  officers after a person has been taken into custody or otherwise deprived of his freedom of action

  in any significant way.” Miranda v. Arizona, 384 U.S. 436, 444 (1966). Interrogation “refers not

  only to express questioning, but also to any words or actions on the part of the police (other than

  those normally attendant to arrest and custody) that the police should know are reasonably likely

  to elicit an incriminating response.” Rhode Island v. Innis, 446 U.S. 291, 300-01 (1980).

         Here, Cpl. Beadle should have reasonably known to expect an incriminating response

  from Mr. Broome when he asked, “What’s all in the shed that’s illegal? You got a little bit of

  pills and stuff in there?” and “There ain’t no pills in there right now?” Cpl. Beadle’s questions

  and statements called for Mr. Broome to divulge information about the presence and possession

  of contraband. Such contraband would presumably include a firearm that the United States

  alleges Mr. Broome cannot possess. Because of this, Officer Beadle’s questioning of Mr.

  Broome is an interrogation under Miranda’s definition.

             ii.     Mr. Broome Was in Custody When Responding to the Cpl. Beadle’s
                     Questions.

         Miranda protections apply “where there has been such a restriction on a person’s

  freedom as to render him ‘in custody.’” Stansbury v. California, 511 U.S. 318, 322 (1994).

  “Custodial interrogations” occur when there is “questioning initiated by law enforcement after a

  person has been taken into custody or otherwise deprived of his freedom of action in any

  significant way.” Miranda, 384 U.S. at 444. Whether a person is in custody “depends on the

  objective circumstances of the interrogation, not on the subjective views harbored by the

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  interrogating officers or the person being questioned.” Id. at 325. However, “[a]n officer’s

  knowledge or beliefs may bear upon the custody issue if they are conveyed, by word or deed, to

  the individual being questioned.” Id. (emphasis added). Courts are to look at the “totality of the

  circumstances,” including any circumstances that “would have affected how a reasonable

  person” in the suspect’s position would “perceive his or her freedom to leave.” Id.

         Here, Mr. Broome was in custody the moment the officers drew their weapons, told him

  to exit the shed, and handcuffed him. The officers used force by drawing and aiming their

  weapons, presumably ready to use force if Mr. Broome did not comply. Moreover, handcuffing

  Mr. Broome restricted his ability to move. Furthermore, Cpl. Beadle conveyed his knowledge of

  Mr. Broome’s warrants to Mr. Broome, making it explicitly clear that he intended to take Mr.

  Broome into custody. Further still, the officers outnumbered Mr. Broome four to one, and

  surrounded him as Cpl. Beadle interrogated him about the possible contents of the shed.

  Therefore, not only did the handcuffs restrict Mr. Broome’s movement, but the presence,

  number, and positioning of the four officers did so as well. A reasonable person in this situation

  would not have felt safe or free to leave. For this, Mr. Broome was in custody when the

  interrogation occurred.

             iii.    The Fifth Amendment Requires Pre-Interrogation Warnings as “An Absolute
                     Prerequisite” for Any Custodial Interrogation.

         The Fifth Amendment instructs that “[n]o person . . . shall be compelled in any criminal

  case to be a witness against himself.” U.S. Const. Amend. V. Because of this, pre-interrogation

  warnings against self-incrimination are an “absolute prerequisite” for any custodial interrogation.

  Miranda, 384 U.S. at 471. The Court in Miranda held that “the prosecution may not use

  statements, whether exculpatory or inculpatory, stemming from custodial interrogation of the

  defendant unless it demonstrates the use of procedural safeguards effective to secure the


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  privilege against self-incrimination.” Id. at 444. The Court further explained that “if a person in

  custody is to be subjected to interrogation, he must first be informed in clear and unequivocal

  terms that he has the right to remain silent.” Id. at 468. A person in custody also “must clearly be

  informed that he has the right to consult with a lawyer and to have the lawyer with him during

  interrogation.” Id. at 471.

         As established above, Mr. Broome was in custody when Cpl. Beadle interrogated him.

  However, no officer informed Mr. Broome that he had the right to remain silent and to not

  answer any of their questions. In the BWC footage, no officer provides any Miranda warnings.

  Despite this, Cpl. Beadle proceeded to solicit incriminating verbal and nonverbal statements

  from Mr. Broome. Because the officers did not provide the prerequisite warnings, this Court

  must suppress Mr. Broome’s statements from trial.

         D. The Dog Sniff Around the Shed, the Driveway, and the Curtilage of the Home

             Was an Unconstitutional Search.

         “The government’s use of trained police dogs to investigate the home and its immediate

  surroundings is a ‘search’ within the meaning of the Fourth Amendment.” Florida v. Jardines,

  569 U.S. 1, 11-12 (2013). In Jardines, the officers approached the front porch of the defendant’s

  home accompanied by a “drug-sniffing dog.” Id. at 3-4. The dog began “energetically exploring

  the area.” Id. at 4. The dog next sat at “the base of the front door,” which was “the trained

  behavior upon discovering the [odor of contraband]’s strongest point.” Id. Based on the dog’s

  behavior, the officer acquired a search warrant to search the residence.” Id. The Court in

  Jardines held that the dog-sniff search was unlawful because the officers gathered the

  information included in the search warrant “by physically entering and occupying the area to

  engage in conduct not explicitly or implicitly permitted by the homeowner.” Id. at 6. In other



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  words, the officers lacked consent to perform any search, including a dog sniff. The Court

  reasoned that “the right of a [person] to retreat into his own home and there be free from

  unreasonable governmental intrusion . . . would be of little practical value if the state’s agents

  could stand in a home’s porch or side . . . and trawl for evidence with impunity.” Id.

         Like the dog in Jardines, Cpl. Beadle’s dog energetically explored the area in the

  driveway and around the shed. Like the search warrant in Jardines, affidavit includes that the

  dog alerted toward the shed. Also, like the officers in Jardines, Cpl. Beadle and the other officers

  lacked a search warrant when the dog-sniff occurred. As discussed above, Mr. Broome refused

  consent to a search, so Cpl. Beadle lacked consent to perform a dog sniff search. Since a dog

  sniff of curtilage is a search under the Fourth Amendment, Cpl. Beadle’s dog sniff was an

  unconstitutional search because he had neither consent nor a search warrant.

         E. The Third Warrantless Entry into the Shed Was Unconstitutional Because It

             Occurred Prior to the Search Warrant and Was Not a “Plain View” Search.

         Officers may seize evidence that is in plain view without a warrant if they are “lawfully

  in a position from which they view an object, if its incriminating character is immediately

  apparent, and if the officers have a lawful right of access to the object.” United States v. Galaviz,

  645 F.3d 347, 355 (6th Cir. 2011).

         Here, the officers lacked all three requirements for the plain view doctrine to apply to the

  third warrantless entry into the shed. The doors of the shed were closed. As explained above, the

  shed is opaque and a person cannot see inside without opening the doors and passing through the

  partition. The third warrantless entry occurred when one of the officers approached the shed,

  opened the doors, and went inside. This entry occurred prior to obtaining the search warrant, and

  because of Randolph, lacked consent. Therefore, the officers were not in a lawful position to



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  view any incriminating evidence that may have existed in the shed. Moreover, even if they could

  enter the shed, they shuffled items around, opened containers, and greatly disturbed the inside of

  the shed to grab what they claimed was “in plain view.” Because they had to move items around,

  they were not collecting items in plain view and nothing of a criminal character could have been

  immediately apparent just from viewing the inside of the shed. Because of this, the third

  warrantless entry was unconstitutional and cannot find shelter in the plain view exception to the

  warrant requirement.

         F. The Execution of the Search Warrant Was Unlawful Because Law Enforcement

             Misled a Magistrate into Issuing a Search Warrant.

             i.      Courts Must Void a Search Warrant Where the Officer’s Reckless Disregard
                     for the Truth Misled a Magistrate Judge into Finding Probable Cause.

         The Fourth Amendment prevents a magistrate judge from issuing a search warrant “but

  upon probable cause, supported by oath or affirmation.” U.S. Const. Amend, IV. Probable cause

  exists when the totality of the circumstances shows “a fair probability that contraband or

  evidence of a crime will be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238

  (1983). Generally, “[t]here is a presumption of validity with respect to the affidavit supporting

  the search warrant.” Franks v. Delaware, 438 U.S. 154, 171 (1978). However, a complete denial

  of the chance to test the basis of a search warrant risks “denud[ing] the probable cause

  requirement of all real meaning” because otherwise a court may never become aware that law

  enforcement “deliberately falsified allegations to demonstrate probable cause” and “misled the

  magistrate.” Id. at 168. For this, the Court in Franks held that a defendant may challenge the

  validity of a search warrant if he can make two findings: first, the defendant must show by a

  preponderance of the evidence that law enforcement made “a false statement knowingly and




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  intentionally, or with reckless disregard for the truth.” Id. at 155-56. Second, the defendant must

  show that the “allegedly false statement is necessary to the finding of probable cause.” Id. at 156.

         Once a defendant has made the preliminary showings, the Court must set aside the

  subject material and determine whether “there remains sufficient content in the warrant to

  support a finding of probable cause.” Franks, 438 U.S. at 173. If it is not, “the search warrant

  must be voided and the fruits of the search excluded to the same extent as if probable cause was

  lacking on the face of the affidavit.” Id. at 156.

         Likewise, a defendant is entitled to a Franks hearing if he makes the two preliminary

  showings as to material omissions from the affidavit. McCallum v. Geelhood, 742 Fed.Appx.

  985, 991 (6th Cir. 2018). That is, “an officer cannot rely on a judicial determination of probable

  cause if that officer knowingly makes false statements and omissions to the judge such that but

  for these falsities the judge would not have issued the warrant.” Yancey v. Carroll County, 876

  F.2d 1238, 1243 (6th Cir. 1989) (emphasis added). “Such reliance is unreasonable, and detention

  of an individual pursuant to such deceptive practices violates the Fourth Amendment.” Gregory

  v. City of Louisville, 444 F.3d 725, 758 (6th Cir. 2006).

             ii.     The Affidavit Has Material Omissions because It Does Not Mention Any of the
                     Three Warrantless Entries into the Shed to Obtain the Evidence that was Used
                     as a Basis for the Warrant.

         Here, the affidavit for search warrant contains materially false statements and omissions

  that were necessary to the finding of probable cause. At best, these statements and omissions

  were made recklessly, but the severity of the false statements and omissions indicates that they

  were made knowingly or intentionally in order convince Judge Charles Paty to issue the warrant.

  First, the affidavit states that “[p]olice arrested Mr. Broome inside the shed.” This is untrue.

  Although Mr. Broome was inside the shed when the officers arrived, the BWC footage

  demonstrates that Mr. Broome exited the shed and was then placed in handcuffs. This statement

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  is material because the affidavit asserts that the officers saw drug paraphernalia in plain view

  “[w]hile inside the shed”—presumably only while making a lawful arrest.

         Worse, the affidavit omits several facts in the sequence of events that led to the officers

  seeking the search warrant. These omissions should have been included in paragraphs 3 through

  5 of the affidavit. First, the affidavit omits the fact that Cpl. Beadle remained in the shed much

  longer than necessary to retrieve Mr. Broome’s shoes (the first warrantless entry). The affidavit

  also omits that Mr. Broome refused consent for the officers to perform a search for narcotics

  inside the shed (the second warrantless entry). It omits that the Cpl. Beadle removed Mr. Broome

  to get consent from his grandmother. It omits any of the dialogue between Cpl. Beadle and Mr.

  Broome. Importantly, it also omits that upon searching the shed after receiving “consent” from

  Ms. Sneed, that Cpl. Beadle found nothing.

         Further still, the affidavit omits the third warrantless entry where the officers again

  approach the shed, open the door, and rummage through the items prior to seeking the warrant

  (the supposed “plain view” seizure of evidence during the third warrantless entry). These

  omissions avoided making Judge Paty aware of the Fourth Amendment violations that occurred

  in uncovering the factual allegations included in the search warrant. The officers conducted three

  warrantless entries but mentioned none of them in the affidavit. Although the affidavit alludes to

  the officers being “inside the shed” at some point, it neglects to include how the officers got

  inside the shed—and affirmatively misstates that Mr. Broome was arrested inside the shed, thus

  giving the false impression that items were view “in plain sight” as part of Mr. Broome’s arrest.

  The information included in the four corners of the affidavit indicate that the officers entered the

  shed to make an arrest and saw paraphernalia while performing the arrest. This is not what

  occurred. The above omissions matter because, had these omissions been included, Judge Paty



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  would have known that the source of the information included in the warrant was the result of

  several Fourth Amendment violations, and that anything discovered through the execution of the

  search warrant would have only been the fruit of the poisonous tree.

             iii.    The Search Warrant is Also Facially Deficient because the Affidavit Admits
                     that the Officers Conducted an Illegal Search.

         Notably, the affidavit does include the dog-sniff search that was patently

  unconstitutional. This makes paragraphs 12 through 14 facially deficient. Judge Paty should have

  been aware of this conduct was patently unconstitutional and should not have authorized the

  warrant.

             iv.     The Affidavit for the Search Warrant Lacks Indicia of Probable Cause Once
                     the Violative Portions are Excised.

         After excising paragraphs 3 through 5, and paragraphs 12 through 15 of the affidavit,

  there is not probable cause to issue the search warrant. The first two paragraphs include the

  address of the home and the fact that Mr. Broome had warrants out for his arrest. Paragraphs 6

  through 11 describe “aluminum foil pieces” on the ground in the driveway, the two vehicles that

  were in the driveway, and the conversation with Ms. Sneed where she explains that Mr. Broome

  was living inside the shed and drove both vehicles. This information is wholly insufficient to

  show probable cause to issue a warrant to enter and search the shed. This information would not

  even be sufficient for a hunch that evidence of contraband would be found in the shed. For this,

  pursuant to Franks, “the search warrant must be voided and the fruits of the search excluded.

  Franks, 438 U.S. at 156.

         G. The Good Faith and Inevitable Discovery Exceptions Do Not Apply.

         When the police obtain evidence through a violation of the Fourth Amendment, the trial

  court must exclude that evidence at the defendant’s trial. Byars v. United States, 273 U.S. 28, 29-



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  30 (1927). Like the exceptions to the general warrant requirement, only a few recognized

  exceptions can prevent the exclusion of evidence.

             i.      The Good Faith Exception Does Not Apply Because the Search Warrant
                     Contains a Knowing and Reckless Falsity, the Magistrate Should Have
                     Recognized a Clear Violation Admitted in the Affidavit, and Because the
                     Warrant is Facially Deficient.

         The exclusionary rule does “not bar the government’s introduction of evidence obtained

  by police officers acting in objectively reasonable reliance on a search warrant that is

  subsequently invalidated.” United States v. Laughton, 409 F.3d 744, 748 (6th Cir. 2005). “The

  good-faith exception, however, does not apply in four situations: (1) when the affidavit

  supporting the search warrant contains a knowing or reckless falsity; (2) when the magistrate

  who issued the search warrant wholly abandoned his or her judicial role; (3) when the affidavit is

  so lacking in indicia of probable cause that a belief in its existence is objectively unreasonable;

  or (4) when the warrant is so facially deficient that it cannot reasonably be presumed valid.”

  United States v. McPhearson, 469 F.3d 518, 525 (6th Cir. 2006). At least three of these four

  situations exist in Mr. Broome’s case.

         First, as established above, the warrant contains false statements and omissions that were

  included knowingly or recklessly. Mr. Broome was not arrested inside of the shed, and the

  affidavit omits several Fourth Amendment violations that were key parts of the chains of events

  that led to the issuance of the warrant. Second, Judge Paty should have recognized that the dog

  sniff search violated the Jardines Supreme Court case law because a dog sniff search is a search

  under the Fourth Amendment for which either a warrant or consent is required. Despite this

  admission in the affidavit, Judge Paty still issued the warrant. This second situation intertwines

  with the fourth listed in McPhearson; the admitted constitutional violation in the affidavit makes




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  the affidavit facially deficient. Issuing the search warrant only permitted the officers to search for

  and seize evidence that would inevitably be fruit of the poisonous tree.

             ii.     The Inevitable Discovery Exception to Exclusionary Rule Does Not Apply
                     Because the Officers Did Not Possess the Lawful Means of Obtaining the
                     Evidence at the Time of the Unconstitutional Searches.

         Evidence is admissible despite a Fourth Amendment violation only if law enforcement

  would have discovered the evidence “wholly independent of any constitutional violation.” Nix v.

  Williams, 467 U.S. 431, 443 (1984). “[T]he inevitable discovery exception applies when, at the

  time of the unlawful search, there was a separate independent line of investigation underway or

  there are compelling facts indicating that the disputed evidence would have inevitably been

  discovered. United States v. Kennedy, 61 F.3d 494, 498 (6th Cir. 1995). The government must

  show by a preponderance of the evidence that an “independent, untainted investigation . . .

  inevitably would have uncovered the same evidence as that discovered through the illegal

  search.” United States v. Haddix, 239 U.S. 766, 769 (6th Cir. 2001).

         The Sixth Circuit has acknowledged that “[t]he inevitable discovery doctrine is

  conceptually more problematic . . . because it involves a degree of deducing what would have

  happened rather than simply evaluating what actually happened.” United States v. Leake, 95 F.3d

  409, 412 (6th Cir. 1996). For this, courts must keep speculation “to a minimum” and instead

  “focus on demonstrated historical facts capable of ready verification or impeachment.” Id. Courts

  must “look at the facts at the time they existed at the instant before the unlawful search, and

  determine what would have happened had the unlawful search not occurred.” Kennedy, 61 F.3d

  at 498 (6th Cir. 1995) (citing United States v. Eng, 971 F.2d 854, 861 (2d. Cir. 1992)).

         The inevitable discovery rule may apply if police officers possess a warrant at the time of

  the constitutional violation. See United States v. Alexander, 540 F.3d 494, 503 (6th Cir. 2008). In

  Alexander, the officers arrested the defendant inside his home while executing a search warrant.

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  Id. at 498. After handcuffing the defendant but prior to issuing Miranda warnings, the officers

  told the defendant to “admit where the cocaine was.” Id. The defendant’s response led officers to

  the location of contraband in the home. Id. The Sixth Circuit held that the inevitable discovery

  exception applied because the officer possessed a search warrant for the home at the time of the

  Miranda violation and would have located the contraband once the officers fully searched the

  home. Id. at 504.

            However, if law enforcement does not possess a search warrant at the time of an unlawful

  search of a home, the inevitable discovery doctrine does not apply—even if law enforcement had

  probable cause to obtain a warrant. United States v. Haddix, 239 F.3d 766, 768 (6th Cir. 2001).

  In Haddix, the officers arrived at the defendant’s home after a police helicopter observed

  marijuana growing behind the house. Id. at 766. While approaching the house, the officer saw

  marijuana plants and power lines running to other buildings on the premises. Id. From the

  defendant’s porch, the officers observed an assault rifle inside the home. Id. at 767. Without a

  warrant, the officers entered the home and seized the firearm. Id. The officers went further into

  the home, finding two more guns, marijuana, and the defendant. Id. Thereafter, the officers

  obtained a search warrant, but only “well after they invaded [the defendant’s] home.” Id. at 767.

  In Haddix, the government argued that the inevitable discovery doctrine applied because

  probable cause existed for the search warrant that the officers obtained. Id. at 768. Despite

  agreeing that probable cause existed for a warrant, the Sixth Circuit refused to apply the

  inevitable discovery doctrine because the government’s position, if correct, would “completely

  obviate the warrant requirement” and “radically depart[] from the Fourth Amendment warrant

  requirement precedent.” Id. (quoting United States v. Johnson, 22 F.3d 674, 683-84 (6th Cir.

  1994)).



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         The Sixth Circuit reached a similar conclusion more recently in United States v. Quinney,

  583 F.3d 891 (6th Cir. 2009). In Quinney, the officers entered the defendant’s home without a

  warrant and seized evidence. Id. at 893. Prior to entering the defendant's home, the officers spoke

  with witnesses and likely developed probable cause for a search warrant, but did not take the

  steps to apply for one. Id. The government in Quinney argued that the inevitable discovery

  doctrine applied because the officers had probable cause to obtain a search warrant at the time of

  the unlawful search and seizure. Id. at 894. The Sixth Circuit noted that it had “emphatically

  reject[ed]” the government’s argument in numerous cases, and again “reject[ed] the

  government’s attempt to circumvent the [warrant] requirement via the inevitable discovery

  doctrine.” Id. at 894-95.

         Inevitable discovery does not apply even if the officers unlawfully search the home while

  they are simultaneously in the process of acquiring a search warrant. United States v. Griffin, 502

  F.2d 959 (6th Cir. 1974). In Griffin, the officers developed probable cause for a search of the

  defendant’s apartment and sent an officer to obtain a search warrant. Id. at 960. While this

  officer was away, the others went directly to the defendant’s apartment and “forcibly enter[ed]

  it.” Id. The officers searched the home again four hours later upon receiving the warrant. Id. Like

  in Haddix and Quinney, the government argued that the inevitable discovery doctrine applied

  because the officers had probable cause and were in the process of getting a warrant. Id. The

  Sixth Circuit again rejected this argument, explaining that “police who believe they have

  probable cause to search cannot enter a home without a warrant merely because they plan

  subsequently to get one.” Id. at 961.

         Here, Mr. Broome’s case is analogous to Quinney, Haddix, and Griffin, and

  distinguishable from Alexander. Like those cases, there was never a separate independent



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  investigation that would have otherwise discovered the evidence at issue in Mr. Broome’s case.

  Each illegal entry into the shed (including the dog sniff search) was a part of the course of the

  same investigation. The officers did not have a warrant during the first three entries into the shed

  or at the time of the dog-sniff search. Because of this, the independent discovery doctrine cannot

  apply. The fact that the officers eventually obtained a warrant does not cure the constitutional

  violation that these officers caused.

          In addition, although Mr. Broome does not concede that there was probable cause for a

  search warrant, even if there were probable cause, the officers still failed to obtain a search

  warrant before the entering and searching the shed or performing the dog sniff. Arguably, the

  officers may have been in the process of getting a search warrant during the third warrantless

  entry, but even this is insufficient under Griffin. The bright line rule is that the officers need to

  have possessed the lawful means of discovery—the warrant itself in Mr. Broome’s case—at the

  time that the constitutional violation occurred. These officers did not. For this, the inevitable

  discovery doctrine does not apply, and the Court must exclude the evidence seized from the

  shed, most notably the firearm for which the United States has charged Mr. Broome.

          III.    CONCLUSION

          Wherefore, Mr. Jared Broome respectfully moves this Honorable Court to issue an order

  suppressing: 1) the evidence that law enforcement found within the shed resulting from five

  unconstitutional searches, and 2) his statements to law enforcement after his arrest. Additionally,

  Mr. Broome requests a Franks hearing to contest the validity of the search warrant.




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                                     RESPECTFULLY SUBMITTED:

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